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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                            )
                                                     )
                                 Plaintiff;          )
                                                     )
                       v.                            )   Case No.: 25-mj-00089 (MJS)
                                                     )
EMILY SOMMER,                                        )
                                                     )
                                 Defendant.          )



                                  NOTICE OF ASSIGNMENT


       The Office of the Federal Public Defender respectfully advises the Court that Assistant

Federal Public Defender Alexis Gardner has assumed responsibility for the defense of Emily

Sommer in the above-captioned case as co-counsel. Please send copies of all notices and

inquiries to the attorney listed below.



                                              Respectfully submitted,


                                                     /s/
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